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               IN THE UNITED STATES DISTRICT COURTFOR
                  THE SOUTHERN DISTRICT OF GEORGI-L5 '7
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA              )              9   aTa1k'f
V.                                    )      CASE NO. CR4 13-203

KENDALL ALPHONZO STEVENS,

      Defendant.


                                 ORDER

      A jury trial in this case for Defendant Kendall Alphonzo

Stevens is scheduled to begin at 9:00 a.m. on Monday, March 2,

2015. For the last week, this Court's Deputy Clerk has

repeatedly attempted to communicate with counsel for Defendant

Stevens, Mr. Caleb Burch Banks, concerning the impending trial.

It is the Court's understanding that telephone calls have been

placed to two separate numbers provided by Mr. Banks. However,

phone calls to the first number have been forwarded to a

voicemail account, where a recorded message states that the

voice mailbox is full. Repeated phone calls to the second number

have remained unanswered, with no opportunity to leave a

message. To date, the Court has been unable to communicate with

Mr. Banks about the upcoming trial.

      Additionally, the Court's review of the record in this

case, along with information provided by counsel for the

Government, gives the Court some cause for concern. The docket
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indicates that Mr. Banks did not file any pretrial motions on

Defendant Steven's behalf. Additionally, Mr. Banks failed to

file any proposed voir dire or jury charges in anticipation of

trial. The Government has informed the Court that Mr. Banks did

not attend any hearings in this case involving co-Defendants

Durrell Jones, Hall, and Randy Jones, including one that

directly involved potentially incriminating actions by Defendant

Stevens. To the Government's knowledge, Mr. Banks has neither

interviewed any potential witnesses in this case, including the

Government's case agent, nor contacted the Federal Bureau of

Investigation to review the video evidence. Finally, the

Government also maintains that it has had no meaningful

communication with Mr. Banks regarding his representation of

Defendant Stevens in this matter.

     Based on this information, the Court is particularly

concerned as to whether Mr. Banks will be adequately prepared to

provide Defendant Stevens with a competent defense for a trial

less than seventy-two hours from now. Given these trepidations

and the potential prejudice faced by Defendant Stevens, the

Court sees little option but to remove this case from its trial

calendar. Accordingly, the jury trial set in this case for 9:00
a.m. on Monday, March 2, 2015 is hereby CANCELLED. The Court

will schedule a hearing to examine these issues at the earliest

possible convenience.


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     Additionally, Defendant Stevens's speedy trial clock SHALL

BE TOLLED from the date of this order until further notice. The

Court's apprehensions regarding the ability of Mr. Banks to

provide Defendant Stevens a competent defense at the impending

trial outweigh both the public's and Defendant Stevens's

interest in a speedy trial. Accordingly, the Court concludes

that the ends of justice served by a continuance outweigh the

best interests of the public and Defendant Stevens in a speedy

trial. See 18 U.S.C. § 3161(h) (8) (A)

     SO ORDERED this 2 7!'day of February 2015.




                                  WILLIAM T. MOORE, JR.
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA




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